
Bellacosa, J.
(dissenting). I would uphold the consecutive sentences imposed by the trial court after defendant’s guilty plea to lesser charges under a four-count indictment charging murder and other criminal acts. At the defendant’s request, the People agreed to the lesser plea, and the Trial Justice approved the mutually beneficial bargain, which included the sentence particulars (see, CPL 220.30 [3] [a] [i]). The three-way consensus achieved by the essential participants at the trial level and the finality of this resolution of the criminal proceeding are nevertheless erased upon defendant’s ultimate appeal to this Court, in which he now successfully attacks the legality of the agreed-to consecutive sentences (see, Penal Law § 70.25 [2]).
*646My view of this case, which coincides with that of the two lower courts, rests on a more flexible sense of the governing legal principles as applied to this particular situation. Yet, I cannot disagree entirely with the taut logic of the statutory interlocks that forms the basis of the majority’s interpretation, which significantly curtails sentencing courts’ discretion under Penal Law § 70.25 (2). Ultimately, however, I vote to affirm so that I may respectfully express some additional guidance and special emphasis for the Bench and Bar so that they may reach more fruitful outcomes in future dispositions of such cases. Since the overwhelming number of criminal cases are disposed of by negotiated guilty pleas and sentencing bargains, all participants — particularly overburdened trial courts charged with approving such resolutions — must guard, against the delayed overturnings that are built-in at the very same time that these cases are "finally” settled by the parties at the trial level. Thus, trial courts must undertake an extra measure of probity and in-depth examination of the governing principles as applied to the nuanced features of each plea deal.
Part of my difficulty with this case and its serious precedential and practical consequences is that I am not persuaded that the crime of manslaughter in the first degree inevitably constitutes an element of the crime of robbery in the first degree for purposes of the restrictions prescribed in Penal Law § 70.25. The determination that courts in these circumstances need examine only the actus reus of manslaughter — the physical act of the homicide — to determine whether it "in itself’ constituted the "serious physical injury” element of robbery in the first degree (majority opn, at 643), misses the functional objective of the plain language of Penal Law § 70.25 (2) and of this Court’s precedents. That section provides:
"When more than one sentence of imprisonment is imposed on a person for two or more offenses committed through a single act or omission, or through an act or omission which in itself constituted one of the offenses and also was a material element of the other, the sentences * * * must run concurrently” (Penal Law § 70.25 [2] [emphasis added]).
In my view, the statute states and contemplates that the "act or omission” must in its entirety constitute one of the crimes for which a conviction adheres, while at the same time constituting one element of the other crime for which there has also been a conviction (see, People v Day, 73 NY2d 208, 211; see also, People v Catone, 65 NY2d 1003, 1005).
*647While the statutory definitions of "act” and "omission” do refer only to "actus reus” conduct (see, Penal Law § 15.00 [1], [3]), this Court’s precedents and Penal Law § 70.25 (2) nevertheless mandate that the "act or omission” comprise the entire first offense and an element of the second one (see, People v Day, supra; People v Catone, supra; People ex rel. Maurer v Jackson, 2 NY2d 259, 264). Therefore, the entire crime of manslaughter in the first degree should not be deemed an element of robbery in the first degree for purposes of the sentencing limitation at issue here. To be classified as such, the statutory definition of the manslaughter offense would have to encompass "a necessary component in the legislative classification and definitional sense” (People v Day, supra, at 211). Yet, manslaughter in the first degree contains an additional element, namely "intent to cause serious physical injury” (Penal Law § 125.20 [1]), which does not inexorably encompass a "necessary component” of the crime of robbery in the first degree. Instead, that crime is elevated to the first degree by the actual causing of "serious physical injury” with no corresponding requirement of intent to cause such injury (see, People ex rel. Maurer v Jackson, supra, at 265). Thus, these crimes are — or should be deemed — legally distinct for the purposes of this curtailment of judicial sentencing authority.
Moreover, the aggravating element of robbery in the first degree in this case is that the defendant "[clauses serious physical injury” (Penal Law § 160.15 [1]). For purposes of the sentencing restriction and as commonly understood, though, "death” is different (Penal Law § 125.20 [1]) and does not, by tautological compulsion, always have to equate with "serious physical injury” as otherwise generally defined by Penal Law § 10.00 (10). That section defines "serious physical injury” in part as "physical injury * * * which causes death” (Penal Law § 10.00 [10]). The "death” element of manslaughter, by contrast, ensues when the perpetrator actually "causes the death of such person” (Penal Law § 125.20 [1] [emphasis added]). While these two ingredients share similarities, they are not, in essence, the same. It need not be held that causing the death of another individual is identical to causing serious physical injury, even if that injury results in the death of the victim. The act, to be sure, started an inexorable process that ultimately caused death, but at some later temporal and naturally attenuated point. In this case, for purposes of a sentencing limitation statute, the intended causation of serious physical injury by the act of slitting the victim’s throat can be *648treated as factually and conceptually distinct from the victim’s ultimate death.
It should not be overlooked in this regard that the Trial Justice in this very case possessed the discretion to impose concurrent sentences for the two serious crimes that constituted the lesser plea and sentence deal made by the parties. That deviation from the parties’ agreement, however, would have required the prosecutor’s consent. Thus, Trial Judges will have to be skeptically vigilant concerning all the theoretical permutations that will have to be exhaustively examined before any consecutive sentence arrangements are approved, even when parties appear before sentencing courts in total agreement, with what appears to be a reasonable, fair and final resolution of criminal proceedings.
Finally, to illustrate but one of the peculiar anomalies that may be wrought by this unnecessary restriction on trial court sentencing authority, I point out the diametrically different outcome if, instead of pleading guilty to robbery in the first degree, the defendant had agreed to plead guilty to robbery in the third degree, the lowest degree of robbery (Penal Law § 160.05). In that circumstance, consecutive sentences for robbery, third degree, and manslaughter, first degree, would not be legally forbidden, because causing serious physical injury to another is not an element of robbery in the third degree (Penal Law § 160.05). What a strange statute Penal Law § 70.25 turns out to be when it allows a trial court to use the greater consecutive sentence regimen for a criminal who admits to committing only a simple robbery, but forbids it for one who additionally admits to a more serious robbery that includes causing serious physical injury. I do not believe that the Legislature could have intended such a topsy-turvy result or the many other incongruous combinations that will unfold (see, McKinney’s Cons Laws of NY, Book 1, Statutes § 92, at 176). Yet, that is what the rationale of this case projects for the future operation and application of this sentencing restriction statute.
In the end, defendant is allowed to keep the benefit of the lesser plea bargain, and yet belatedly escape from the agreed-upon sentence, the minimum of which is cut nearly in half by being reduced from 15 years to 81/s years. I conclude with the observation that this case is not about plea bargaining as such, or disproportionate prosecutorial power, or even defendants’ rights and protections in that arena. It is simply about judicial sentencing discretion, the legislative effort to restrict it in a narrow range of circumstances, and this Court’s constricting *649interpretation of the pertinent statute as applied to this and like fact patterns.
Chief Judge Kaye and Judges Titone, Smith, Levine and Ciparick concur with Judge Simons; Judge Bellacosa dissents in a separate opinion.
Order modified in accordance with the opinion herein and, as so modified, affirmed.
